Case 2:16-cv-07475-ODW-E Document 85 Filed 08/19/19 Page 1 of 2 Page ID #:1738



  1                                                                                JS-6
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                                             NOTE: CHANGES HAVE BEEN
  3                                          MADE TO THIS DOCUMENT
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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11   FREDRIC GLASSMAN;                     Case No. 2:16-cv-07475-ODW-E
      JENNIFER GLASSMAN; and
 12   SAMUEL GLASSMAN, a minor, by           JUDGMENT
      and through his Guardian Litem,
 13   JENNIFER GLASSMAN,                     Assigned to Hon. Otis D. Wright II,
                                             Dept. 5D
 14                  Plaintiffs,
                                             Action Filed: October 6, 2015
 15         v.                               Trial Date: July 30, 2019
 16   HOME DEPOT USA, INC.,
      TECHTRONIC INDUSTRIES
 17   NORTH AMERICA, INC.; ONE
      WORLD TECHNOLOGIES, INC.;
 18   RYOBI TECHNOLOGIES, INC.;
      RYOBI LIMITED; and DOES 1 to
 19   100, inclusive,
 20                  Defendants.
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                                        JUDGMENT
Case 2:16-cv-07475-ODW-E Document 85 Filed 08/19/19 Page 2 of 2 Page ID #:1739



  1         Pursuant to the filed stipulation of the parties, and for good cause shown, IT
  2   IS HEREBY ORDERED, ADJUDGED, AND DECREED that, pursuant to
  3   Federal Rules of Civil Procedure Rule 58, Plaintiffs shall have and recover nothing
  4   by reason of their complaint against Defendants in the above-captioned matter and
  5   Defendants shall have and recover from Plaintiffs any and all costs and expenses to
  6   which Defendants are entitled.
  7         Judgment is hereby entered in favor of Defendants. The Clerk of the Court
  8   shall close the case.
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      Dated: ___August 19, 2019
 11                                                   The Honorable Otis D. Wright II
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                                           JUDGMENT
